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Information to identify the case:
Debtor 1              Floyd E. Egner III                                             Social Security number or ITIN    xxx−xx−9566
                      First Name   Middle Name   Last Name                           EIN    _ _−_ _ _ _ _ _ _
Debtor 2              Susan L. Suby                                                  Social Security number or ITIN    xxx−xx−9682
(Spouse, if filing)
                      First Name   Middle Name   Last Name                           EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Middle District of Florida

Case number: 8:19−bk−01567−CPM


Order of Discharge                                                                                                                 12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Floyd E. Egner III                                               Susan L. Suby
           aka Floyd Egner, aka Floyd Emmett Egner, aka                     aka Sue Suby, aka Susan C. Suby, aka Susan
           Floyd Egner III                                                  Cashel Suby, aka Susan Lenore Suby




                                                             ____________________________________________
                                                             Catherine Peek McEwen
           Dated: June 7, 2019                               United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case, and it does                  This order does not prevent debtors from paying any debt
not determine how much money, if any, the trustee will pay                  voluntarily or from paying reaffirmed debts according to the
creditors.                                                                  reaffirmation agreement. 11 U.S.C. § 524(c), (f).

Creditors cannot collect discharged debts
This order means that no one may make any attempt to                        Most debts are discharged
collect a discharged debt from the debtors personally. For                  Most debts are covered by the discharge, but not all.
example, creditors cannot sue, garnish wages, assert a                      Generally, a discharge removes the debtors' personal
deficiency, or otherwise try to collect from the debtors                    liability for debts owed before the debtors' bankruptcy case
personally on discharged debts. Creditors cannot contact                    was filed.
the debtors by mail, phone, or otherwise in any attempt to
collect the debt personally. Creditors who violate this order               Also, if this case began under a different chapter of the
can be required to pay debtors damages and attorney's                       Bankruptcy Code and was later converted to chapter 7,
fees.                                                                       debts owed before the conversion are discharged.
However, a creditor with a lien may enforce a claim against                 In a case involving community property: Special rules
the debtors' property subject to that lien unless the lien was              protect certain community property owned by the debtor's
avoided or eliminated. For example, a creditor may have                     spouse, even if that spouse did not file a bankruptcy case.
the right to foreclose a home mortgage or repossess an
automobile.

                                                                                           For more information, see page 2 >




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Some debts are not discharged                              Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:             agreement are not discharged.

     ♦ debts that are domestic support                     In addition, this discharge does not stop
       obligations;                                        creditors from collecting from anyone else who is
                                                           also liable on the debt, such as an insurance
                                                           company or a person who cosigned or
     ♦ debts for most student loans;                       guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;


     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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